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                UNITED STATES DISTRICT COURT
                EASTERN DISTRICT OF MICHIGAN
                     SOUTHERN DIVISION


United States of America,

                        Plaintiff,      Case No. 23-cr-20199

v.                                      Judith E. Levy
                                        United States District Judge
Raphael Jermaine Williams, Jr.,
                                        Mag. Judge Anthony P. Patti
                        Defendant.

________________________________/

     ORDER GRANTING IN PART THE GOVERNMENT’S
  EMERGENCY MOTION FOR A STAY PENDING APPEAL [42]

     Before the Court is the government’s emergency motion to stay the

Court’s dismissal of the indictment pending appeal. (ECF No. 42.) For the

reasons set forth above, the motion is GRANTED IN PART.

     Under Federal Rule of Appellate Procedure 8(a)(1), “[a] party must

ordinarily move first in the district court for . . . a stay of the judgment

or order of a district court pending appeal[.]” Fed. R. App. P. 8(a)(1). “A

stay pending appeal is a matter of judicial discretion, ‘not a matter of

right.’” Memphis A. Philip Randolph Inst. v. Hargett, 977 F.3d 566, 568
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(6th Cir. 2020) (Order) (quoting Nken v. Holder, 556 U.S. 418, 433 (2009)).

Four factors guide this discretion:

     (1) whether the stay applicant has made a strong showing
     that [they are] likely to succeed on the merits; (2) whether the
     applicant will be irreparably injured absent a stay;
     (3) whether issuance of the stay will substantially injure the
     other parties interested in the proceeding; and (4) where the
     public interest lies.

Nken, 556 U.S. at 434 (quoting Hilton v. Braunskill, 481 U.S. 770, 776

(1987)). “These factors are not prerequisites that must be met, but are

interrelated considerations that must be balanced together.” Hargett, 977

F.3d at 568 (quoting Mich. Coal. of Radioactive Material Users, Inc. v.

Griepentrog, 945 F.2d 150, 153 (6th Cir. 1991)). The government, “as the

movant[ ], bear[s] the burden of showing that a stay is warranted under

the circumstances.” Id. (citing Nken, 556 U.S. at 433–34).

     In its motion, the government asserts that the first factor is met

because the government is likely to succeed on appeal. “[W]hile the party

seeking a stay ‘need not always establish a high probability of success on

the merits,’ the party ‘is still required to show, at a minimum, “serious

questions going to the merits.”’” Luxshare, Ltd. v. ZF Auto. US, Inc., 15




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F.4th 780, 783 (6th Cir. 2021) (Order) (quoting Griepentrog, 945 F.2d at

153–54 (6th Cir. 1991)).

     The government has made such a showing here. As the government

points out, the Tenth and Eighth Circuits have both denied challenges to

18 U.S.C. § 922(g)(1) under New York State Rifle & Pistol Ass’n, Inc. v.

Bruen, 597 U.S. 1 (2022), while the Third Circuit is “[t]he only federal

circuit court” that has gone the other way (at least with respect to some

non-violent felonies). (See ECF No. 42, PageID.1542–1543 (citing Vincent

v. Garland, 80 F.4th 1197, 1202 (10th Cir. 2023); United States v.

Jackson, 69 F.4th 495, 501–06 (8th Cir. 2023); Range v. Att’y Gen., 69

F.4th 96, 98, 106 (3d Cir. 2023) (en banc)).) The government also notes

that “at least 30” other challenges to § 922(g)(1) under Bruen in the

Eastern District of Michigan have been denied. (See ECF No. 42,

PageID.1539–1540 & n.1 (citations omitted).)

     Additionally, recent Sixth Circuit cases indicate that the Court’s

decision to dismiss the indictment (charging a § 922(g)(1) violation) under

Bruen implicates a substantial question of first impression in this

Circuit. In United States v. Alvarado, the Sixth Circuit underscored that

“the extent of § 922(g)(1)’s constitutionality under Bruen is for now



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‘unsettled’” and that “the constitutionality of § 922(g)(1) is subject to

reasonable dispute.” 95 F.4th 1047, 1052 (6th Cir. 2024) (refusing to

overturn the defendant’s § 922(g)(1) conviction under plain-error review).

And in United States v. Vaughn, the panel stated (contrary to this Court’s

conclusion) that “United States v. Carey, 602 F.3d 738, 741 (6th Cir.

2010), . . . remains the binding law in this circuit.” United States v.

Vaughn, No. 23-5790, 2023 WL 9789018, at *1 (6th Cir. Sept. 28, 2023)

(Order). Moreover, the constitutionality of § 922(g)(1) post-Bruen is

currently before the Sixth Circuit in United States v. Goins (No. 23-5848),

with oral argument having taken place on March 21, 2024.1 (See ECF No.

42, PageID.1547.) Accordingly, the Court finds that the government’s

appeal presents “serious questions going to the merits.” Luxshare, 15

F.4th at 783. The first factor therefore weighs in favor of a stay.

      With respect to the second and fourth factors, the government

contends that it and the public would be harmed without a stay. The

government argues that “the Court has already determined that

[Defendant Raphael Jermaine Williams, Jr.’s] release poses an




      1 Goins is particularly relevant here as the defendant in Goins, like Defendant

in this case, was under state supervision at the time of the § 922(g)(1) offense.


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unacceptable risk of harm to others.” (ECF No. 42, PageID.1545.) The

government also argues that Defendant’s “possession of several machine

guns and stolen police firearms and his connection to other crimes

evidences the exact risk of harm that justified the Court’s order detaining

him pending trial.” (Id.) Additionally, the government notes that

Defendant “was under active felony probation supervision when he

unlawfully possessed the stolen Detroit Police firearm.” (Id. at

PageID.1546.) The Court finds that failing to grant a stay may pose a risk

of injury to the public and that, given the nature of gun violence, that

injury may be irreparable. Thus, the second and fourth factors favor a

stay.2

      Regarding the        third factor, the       government       asserts that

Defendant’s liberty interest may not be impacted by a stay. In its motion,

the government contends that Defendant “currently faces a probation-

revocation proceeding for his underlying felony convictions” and that “[i]t




      2 As to the second factor, the government does not show that it will be
irreparably injured absent a stay. The Court, however, recognizes that the
government has an interest in public safety. Therefore, an irreparable injury to the
public may irreparably harm the government. But even without considering
irreparable harm to the government, the Court concludes that the overall analysis of
the applicable factors favors issuing a temporary stay, as set forth below.


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is unknown whether or when he will be released by state authorities.”

(Id.) Defendant has been in custody for more than a year on this federal

case and has a substantial liberty interest in not remaining in custody

for a crime that may violate his constitutional rights. Moreover, it is not

clear if or when Defendant will be subject to incarceration by the State of

Michigan. As such, the Court finds that the third factor weighs against a

stay.

        Considering the four factors together, the Court concludes that a

limited stay is warranted at this time to allow the government to file its

appeal. Once a notice of appeal has been filed by the government under

18 U.S.C. § 3731, the Court may consider whether Defendant’s continued

detention is appropriate under 18 U.S.C. §§ 3142 and 3143(c).

        For the reasons set forth above, the Court GRANTS IN PART the

government’s emergency motion to stay the Court’s dismissal of the

indictment pending appeal. (ECF No. 42.) The Court STAYS the

dismissal of the indictment through 5:00 p.m. on Tuesday, May 7, 2024.

The Court will hold a status conference and/or bond review hearing at

2:00 p.m. on Tuesday, May 7, 2024.

        IT IS SO ORDERED.



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Dated: May 2, 2024                       s/Judith E. Levy
     Ann Arbor, Michigan                 JUDITH E. LEVY
                                         United States District Judge


                     CERTIFICATE OF SERVICE

      The undersigned certifies that the foregoing document was served
upon counsel of record and any unrepresented parties via the Court’s
ECF System to their respective email or first-class U.S. mail addresses
disclosed on the Notice of Electronic Filing on May 2, 2024.

                                         s/William Barkholz
                                         WILLIAM BARKHOLZ
                                         Case Manager




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